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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                   )
                                            )
                         Plaintiff,         )
                                            )                     CRIMINAL ACTION
v.                                          )                     No. 06-20056-02-KHV
                                            )
ELVERTO DAVILA,                             )                     CIVIL ACTION
                                            )                     No. 11-2303-KHV
                         Defendant.         )
____________________________________________)

                                MEMORANDUM AND ORDER

       This matter is before the Court on defendant’s Motion Under 28 U.S.C. § 2255 To Vacate,

Set Aside Or Correct Sentence By A Person In Federal Prison (Doc. #787) filed May 31, 2011. For

reasons stated below, the Court overrules defendant’s motion.

                                      Factual Background

       On March 31, 2006, a grand jury returned a 36-count indictment which charged Elverto

Davila and 13 codefendants. In particular, the indictment charged defendant with (1) conspiracy to

distribute and possess with intent to distribute 50 grams or more of a mixture or substance

containing cocaine base (crack), five kilograms or more of a mixture or substance containing cocaine

and 100 kilograms or more of marijuana (Count 1); three counts of using a telephone to facilitate

a drug trafficking offense (Counts 4, 33 and 34); and two counts of distribution of cocaine (Counts 5

and 6). On October 23, 2007, without a plea agreement, defendant pled guilty to all six counts.

       Defendant’s base offense level was 34. See Presentence Investigation Report (“PSIR”) dated

September 5, 2008 ¶ 133. The Court also assessed a two-level enhancement under U.S.S.G. § 2D1.1

because defendant possessed a firearm in connection with the offense and a two-level enhancement

for defendant’s management role in the offense under U.S.S.G. § 3B1.1(c). Defendant received a
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two-level reduction for acceptance of responsibility, resulting in an adjusted offense level of 36. See

U.S.S.G. § 3E1.1. Defendant’s total offense level of 36, with a criminal history category I, resulted

in a sentencing range of 188 to 235 months in prison. See Transcript Of Continuation Of Sentencing

(Doc. #709) at 205. On June 9, 2009, the Court sentenced defendant to 212 months in prison.

Defendant appealed his sentence as substantively unreasonable. On February 8, 2010, the Tenth

Circuit affirmed. See Order And Judgment (Doc. #739). Patrick W. Peters represented defendant

throughout the district court proceedings. Shortly after defendant filed an appeal, Mr. Peters

withdrew. John T. Carlson represented defendant on appeal.

       On May 31, 2011, defendant filed a pro se motion to vacate his sentence under 28 U.S.C.

§ 2255. Liberally construed, defendant’s motion alleges that Mr. Peters was ineffective because

(1) he did not file a motion to dismiss for violation of defendant’s right to a speedy trial, (2) he did

not file a motion to withdraw defendant’s plea because it was coerced, (3) at sentencing, he did not

pursue his argument that defendant was eligible for the safety valve and (4) at sentencing, he did not

object to defendant’s offense level which was based in part on a quantity of crack cocaine (or

cocaine base). Defendant also alleges that Mr. Carlson was ineffective because on appeal, he did

not argue that defendant’s plea was coerced, that defendant should not have been held accountable

for any crack cocaine and that a manager enhancement was inappropriate.

                                               Analysis

       The standard of review of Section 2255 petitions is quite stringent. The Court presumes that

the proceedings which led to defendant’s conviction were correct. See Klein v. United States, 880

F.2d 250, 253 (10th Cir. 1989). To prevail, defendant must show a defect in the proceedings which

resulted in a “complete miscarriage of justice.” Davis v. United States, 417 U.S. 333, 346 (1974).


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       To establish ineffective assistance of counsel, defendant must show that (1) the performance

of counsel was deficient and (2) the deficient performance was so prejudicial that there is a

“reasonable probability that, but for counsel’s unprofessional errors, the result of the proceeding

would have been different.” Strickland v. Washington, 466 U.S. 668, 687, 694 (1984). To meet the

first element, i.e. counsel’s deficient performance, defendant must establish that counsel “made

errors so serious that counsel was not functioning as the ‘counsel’ guaranteed the defendant by the

Sixth Amendment.” Id. at 687. In other words, defendant must prove that counsel’s performance

was “below an objective standard of reasonableness.” United States v. Walling, 982 F.2d 447, 449

(10th Cir. 1992). The Supreme Court recognizes, however, “a strong presumption that counsel’s

conduct falls within the wide range of reasonable professional assistance.” Strickland, 466 U.S. at

689; see United States v. Rantz, 862 F.2d 808, 810 (10th Cir. 1988), cert. denied, 489 U.S. 1089

(1989). As to the second element, the Court must focus on the question “whether counsel’s deficient

performance render[ed] the result of the trial unreliable or the proceeding fundamentally unfair.”

Lockhart v. Fretwell, 506 U.S. 364, 372 (1993).

I.     Motion To Dismiss Under Speedy Trial Act

       Defendant alleges that Mr. Peters was ineffective because he did not file a motion to dismiss

for violation of defendant’s right to a speedy trial. Defendant asserts that under Zedner v. United

States, 547 U.S. 489 (2006), a district court cannot grant a continuance “for reasons stated in the

defendant’s motion.” Defendant’s Reply (Doc. #810) filed January 3, 2012 at 2. Zedner requires

a district court to set forth its reasons for finding that the ends of justice are served and that they

outweigh other interests, 547 U.S. at 506, but it does not preclude a district court from incorporating

the reasoning or the factual circumstances set forth in a motion to continue. See generally United


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States v. Toombs, 574 F.3d 1262, 1271 (10th Cir. 2009) (explanation of need for additional time

must be in “the record, which includes the oral and written statements of both the district court and

the moving party”); United States v. Occhipinti, 998 F.2d 791, 797 (10th Cir. 1993) (in setting forth

its findings, district court need not articulate facts which are obvious and set forth in motion for

continuance).

        Even if defendant could show some technical violation of the Speedy Trial Act, he has not

alleged facts which would establish that counsel’s failure to raise the issue was deficient or

prejudicial. A violation of the Speedy Trial Act, by itself, is not a sufficient basis for dismissal with

prejudice. United States v. Abdush-Shakur, 465 F.3d 458, 462 (10th Cir. 2006). In determining

whether to dismiss the case with or without prejudice, the district court must consider, among others,

each of the following factors: (1) the seriousness of the offense; (2) the facts and circumstances of

the case which led to the dismissal; and (3) the impact of a reprosecution on the administration of

the Act and on the administration of justice. 18 U.S.C. § 3162(a)(2). Absent a showing of

appreciable prejudice to defendant, a district court generally should dismiss serious charges without

prejudice under Section 3162(a)(2) unless the delay is extended and attributable to intentional

dilatory conduct, or a pattern of neglect by the government. United States v. Rushin, 642 F.3d 1299,

1307 (10th Cir. 2011); United States v. Saltzman, 984 F.2d 1087, 1093 (10th Cir. 1993). Defendant

has not alleged any such circumstances in this case. Defendant therefore cannot establish that

counsel’s performance was deficient, see Rushin, 642 F.3d at 1308 (reasonable attorney in sound

exercise of professional judgment might decide to forgo filing motion to dismiss based on speedy

trial violation as largely ineffective, imprudent use of limited resources or even unwarranted

gamesmanship), or prejudicial, see id. at 1309-10 (in no meaningful sense has defendant established


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reasonable probability that result or outcome of proceeding would have differed if indictment had

been dismissed without prejudice because in all likelihood the government would have reindicted

him, placing him in same posture as before dismissal). The Court overrules defendant’s first claim

for relief.

II.     Motion To Withdraw Plea

        Defendant alleges that Mr. Peters was ineffective because he did not file a motion to

withdraw defendant’s plea. Defendant asserts that he was “coerced” to plead guilty because he pled

guilty without a plea agreement out of fear for his safety and that of his family. As defendant

acknowledges in his reply, however, he was not coerced into pleading guilty – he simply was “torn

between pleading guilty pursuant to a plea agreement and entering an open plea.” Defendant’s

Reply (Doc. #810) at 7. Defendant does not dispute that he in fact was guilty as charged. Counsel’s

failure to file a motion to withdraw the plea was not deficient or prejudicial. Defendant simply

changed his mind about the wisdom of an open plea instead of a plea pursuant to an agreement. He

has not alleged that he informed counsel of his change of mind or that the Court would have allowed

defendant to withdraw his plea on such grounds. Defendant also has not shown that the government

would have been willing to give him the same plea agreement which he had rejected earlier. For

these reasons, the Court finds that counsel’s failure to file a motion to withdraw defendant’s guilty

plea was not deficient or prejudicial. The Court overrules defendant’s second claim for relief.

III.    Objection To Eligibility For Safety Valve

        Defendant alleges that Mr. Peters was ineffective because at sentencing, he did not pursue

his argument that defendant was eligible for the safety valve. Counsel’s failure to pursue this

objection was not deficient or prejudicial. At sentencing, the Court found that defendant personally


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possessed a Walther P99 gun. Transcript Of Sentencing (Doc. #709) at 202; see PSIR ¶ 223

(defendant either “possessed a firearm, or aided and abetted the possession of a firearm at his uncle’s

residence, which was utilized by members of the conspiracy for trafficking drugs”).1 Therefore

defendant was not eligible for the safety valve. The Court overrules defendant’s third claim for

relief.

IV.       Objection To Including Crack Cocaine In Drug Quantity

          Defendant alleges that Mr. Peters was ineffective because at sentencing, he did not object

to his offense level which was based in part on a quantity of cocaine base. Defendant maintains that

he should not have been held accountable for any cocaine base. The Court calculated defendant’s

base offense level at 34 because the offense involved at least 3,000 but less than 10,000 kilograms

of marijuana or its equivalent.2 Even if the Court did not hold defendant accountable for any cocaine

base, his base offense level would remain 34. Accordingly, counsel’s performance was not deficient

or prejudicial for his failure to object to the inclusion of cocaine base in defendant’s base offense

level. The Court overrules defendant’s fourth claim for relief.




          1
              In his reply, defendant argues that the Court and counsel erroneously assumed that
because defendant was subject to an enhancement for possession of a firearm under U.S.S.G.
§ 2D1.1, he was not eligible for relief under the safety valve of U.S.S.G. § 5C1.2(a)(2). See
Defendant’s Reply (Doc. #810) at 8. As explained above, the Court found that defendant personally
possessed a Walther P99 gun. The Court therefore properly determined that defendant was subject
to the enhancement under Section 2D1.1 and that he did not qualify for the safety valve under
Section 5C1.2(a)(2).
          2
              The offense involved marijuana, cocaine and cocaine base. The Court held defendant
accountable for a marijuana equivalency of 5,718 kilograms (85 grams of cocaine base converted
to 1,700 kilograms of marijuana, 20 kilograms of cocaine converted to 4,000 kilograms of
marijuana, and 18 kilograms of marijuana). See PSIR ¶ 133.

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V.     Ineffective Assistance On Appeal

       Defendant alleges that Mr. Carlson was ineffective because on appeal, he did not argue that

defendant’s plea was coerced, that defendant should not have been held accountable for any crack

cocaine and that a manager enhancement was inappropriate. For reasons stated above, the Court

finds that counsel’s failure to raise the first two issues on appeal was not deficient or prejudicial.

As to counsel’s failure to appeal the two-level enhancement for a management role in the offense

under Section 3B1.1(c), defendant claims that the Court erroneously applied the enhancement based

solely on the fact that he used Andre Riggans to facilitate a drug deal. See Defendant’s Reply (Doc.

#810) at 13-14. Defendant insists that he did not “control” Riggans. See id. at 15. At sentencing,

however, the Court did not apply the manager enhancement based on defendant’s control of any

particular individual. Instead, the Court applied the enhancement because defendant exercised

management responsibility over the property, assets or activities of the criminal organization. See

Transcript Of Sentencing (Doc. #580) at 56 (citing U.S.S.G. § 3B1.1, Application Note 2, which

provides that upward departure may be warranted in case of defendant who did not organize, lead,

manage or supervise another participant, but who nevertheless exercised “management responsibility

over the property, assets, or activities of a criminal organization”); see id. at 56-57 (adopting

government’s position that defendant “helped manage the criminal activities of this organization by

getting the supplies from his brother, having a say in who gets it and also hooking up other people

who were part of this group with new suppliers”). Accordingly, counsel’s failure to appeal the

manager enhancement based on defendant’s lack of control over Riggans was not deficient or

prejudicial. The Court overrules defendant’s fifth claim for relief.




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                                             Conclusion

       In sum, defendant has not alleged or shown a defect in the proceedings which resulted in a

“complete miscarriage of justice.” Davis, 417 U.S. at 346. The files and records in this case

conclusively show that defendant is not entitled to relief. Moreover, defendant does not allege

specific and particularized facts which, if true, would entitle him to relief. Accordingly, no

evidentiary hearing is required. See 28 U.S.C. § 2255; United States v. Kilpatrick, 124 F.3d 218

(Table), 1997 WL 537866, at *3 (10th Cir. 1997) (allegations of ineffective assistance must be

specific and particularized; conclusory allegations do not warrant hearing); United States v. Marr,

856 F.2d 1471, 1472 (10th Cir. 1988) (no hearing required where factual matters raised by

Section 2255 petition may be resolved on record); United States v. Barboa, 777 F.2d 1420, 1422-23

(10th Cir. 1985) (hearing not required unless “petitioner’s allegations, if proved, would entitle him

to relief” and allegations are not contravened by record).

                                    Certificate Of Appealability

       Under Rule 11 of the Rules Governing Section 2255 Proceedings, the Court must issue or

deny a certificate of appealability when it enters a final order adverse to the applicant. The Court

may issue a certificate of appealability only if the applicant has made a substantial showing of the

denial of a constitutional right. 28 U.S.C. § 2253(c)(2).3 To satisfy this standard, the movant must

demonstrate that “reasonable jurists would find the district court’s assessment of the constitutional

claims debatable or wrong.” Saiz v. Ortiz, 392 F.3d 1166, 1171 n.3 (10th Cir. 2004) (quoting

Tennard v. Dretke, 542 U.S. 274, 282 (2004)). For reasons stated above, the Court finds that


       3
                 The denial of a Section 2255 motion is not appealable unless a circuit justice or a
circuit or district judge issues a certificate of appealability. See Fed. R. App. P. 22(b)(1); 28 U.S.C.
§ 2253(c)(1).

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defendant has not made a substantial showing of the denial of a constitutional right. The Court

therefore denies a certificate of appealability as to its ruling on defendant’s Section 2255 motion.

       IT IS THEREFORE ORDERED that defendant’s Motion Under 28 U.S.C. § 2255 To

Vacate, Set Aside Or Correct Sentence By A Person In Federal Prison (Doc. #787) filed May 31,

2011 be and hereby is OVERRULED. A certificate of appealability as to the ruling on defendant’s

Section 2255 motion is DENIED.

       Dated this 11th day of December, 2012, at Kansas City, Kansas.

                                              s/ Kathryn H. Vratil
                                              KATHRYN H. VRATIL
                                              United States District Judge




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